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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

EUGENE WILLIAMS,

       Plaintiff,

v.                                                    CASE NO.: 8:20-CV-01397

NATIONAL AVIATION
SERVICES, LLC,

      Defendant.
_________________________________/

                               NOTICE OF SETTLEMENT

       Plaintiff, EUGENE WILLIAMS, by and through his undersigned counsel, files this Notice of

Settlement of the above-captioned cause and requests that, pursuant to Local Rule 3.08, this Court

remove this cause from the present trial docket and keep the file open for administrative purposes for

the next 60 days for purposes of allowing parties to complete all matters relating to the settlement.

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 15, 2020, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send electronic notice of filing to all
counsel of record.

                                       FLORIN GRAY BOUZAS OWENS, LLC
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